Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 1 of 19



                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 16-CIV-22053-UNGARO
                                       MAGISTRATE JUDGE P.A. WHITE

  WARREN OLIVER,

              Plaintiff,

  v.                                                   REPORT OF
                                                    MAGISTRATE JUDGE
  KATHLEEN FUHRMAN, et. al.,

            Defendants.
  ____________________________/


                                 I. Introduction


        The Plaintiff, Warren Oliver, while confined at the Tomoka
  Correctional Institution, filed a pro se civil rights complaint
  pursuant    to   42   U.S.C.    §1983.    (DE#1).    Plaintiff     was   granted
  permission to proceed in forma pauperis. (DE# 5).


        Upon conducting an initial screening pursuant to 28 U.S.C.
  §1915, the Undersigned issued a preliminary report recommending the
  action be dismissed for failure to state a claim upon which relief
  could be granted. (DE# 6). The District Court adopted the report.
  (DE# 8). Petitioner appealed and the Eleventh Circuit vacated the
  District Court’s order and remanded solely in order to provide the
  Plaintiff with an opportunity to amend his complaint. (DE# 19:8).


        Plaintiff has filed an amended complaint. (DE# 22).1 This
  Cause is presently before the Court for initial screening of the
  amended complaint (DE# 22) pursuant to 28 U.S.C. §1915, because the



        1
          Although the amended complaint is 60 pages, each page has been copied five
  times. As a result, page two is found at page 5; page three is found at page 10,
  and so on.
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 2 of 19



  plaintiff is proceeding in forma pauperis.



                              II. Screening Standard


        As   amended,    28   U.S.C.       §1915   reads in pertinent   part   as
  follows:


              Sec. 1915 Proceedings in Forma Pauperis

                                       *     *     *


                   (e)(2) Notwithstanding any filing fee, or
              any portion thereof, that may have been paid,
              the court shall dismiss the case at any time
              if the court determines that –

                                       *     *     *

                   (B) the action or appeal –

                                       *     *     *

                   (I)    is frivolous or malicious;

                   (ii) fails to state a claim on which
                   relief may be granted; or

                   (iii) seeks monetary relief from a
                   defendant who is immune from such
                   relief.

        A complaint is “frivolous under section 1915(e) “where it
  lacks an arguable basis either in law or in fact.” Neitzke v.
  Williams, 490 U.S. 319, 325 (1989); Bilal v. Driver, 251 F.3d 1346,
  1349 (11th Cir.), cert. denied, 534 U.S. 1044 (2001).             Dismissals
  on this ground should only be ordered when the legal theories are
  “indisputably meritless,” Id., 490 U.S. at 327, or when the claims
  rely on factual allegations that are “clearly baseless.” Denton v.


                                             2
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 3 of 19



  Hernandez, 504 U.S. 25, 31 (1992). Dismissals for failure to state
  a claim are governed by the same standard as Fed.R.Civ.P. 12(b)(6).
  Mitchell v. Farcass, 112 F.3d 1483, 1490 (11th Cir. 1997)(“The
  language        of    section    1915(e)(2)(B)(ii)    tracks     the     language   of
  Fed.R.Civ.P. 12(b)(6)”).


        In order to state a claim, a plaintiff must show that conduct
  under color of state law, complained of in the civil rights suit,
  violated the plaintiff’s rights, privileges, or immunities under
  the Constitution or laws of the United States.                   Arrington v. Cobb
  County, 139 F.3d 865, 872 (11th Cir. 1998).


        Pro se complaints are held to “less stringent standards than
  formal pleadings drafted by lawyers and can only be dismissed for
  failure to state a claim if it appears ‘beyond doubt that the
  plaintiff can prove no set of facts in support of his claim which
  would entitle him to relief.’” Estelle v. Gamble, 429 U.S. 97, 106
  (1979)(quoting Haines v. Kerner, 404 U.S. 519, 520-21 (1972)). The
  allegations of the complaint are taken as true and are construed in
  the light most favorable to Plaintiff.               Davis v. Monroe County Bd.
  Of Educ., 120 F.3d 1390, 1393 (11th Cir. 1997).


        To determine whether a complaint fails to state a claim upon
  which relief can be granted, the Court must engage in a two-step
  inquiry.        First, the Court must identify the allegations in the
  complaint that are not entitled to the assumption of truth. Bell
  Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)). These include
  “legal conclusions” and “[t]hreadbare recitals of the elements of
  a   cause       of    action     [that   are]   supported   by    mere    conclusory
  statements.” Second, the Court must determine whether the complaint
  states      a        plausible     claim    for   relief.      Id.     This    is   a
  “context-specific task that requires the reviewing court to draw on


                                              3
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 4 of 19



  its   judicial     experience     and   common    sense.”   The    plaintiff     is
  required to plead facts that show more than the “mere possibility
  of misconduct.” The Court must review the factual allegations in
  the   complaint     “to   determine      if    they   plausibly        suggest   an
  entitlement to relief.” When faced with alternative explanations
  for the alleged misconduct, the Court may exercise its judgment in
  determining whether plaintiff’s proffered conclusion is the most
  plausible     or   whether   it    is   more     likely   that    no    misconduct
            2
  occurred.


         III. Proceedings Regarding Original Complaint (DE#1)


        The Preliminary Report provided as follows regarding the facts
  alleged in the original complaint:


             The Plaintiff sues the following defendants: (1)
        Kathleen Fuhrman, Public Health Nutrition Program
        Manager; (2) Shane Phillips, Operation Manager; (3) Craig
        McCormick, Public Health Nutrition Program Manager; (4)
        Julie Jones, Florida Department of Corrections Secretary;
        (5) John Doe, Food Service Director at Martin
        Correctional Institution; and (6) John Doe, Food Service
        Director at Dade Correctional Institution.

             Plaintiff is currently serving a life sentence at
        the Tomoka Correctional Institution in Daytona Beach,
        Florida. He complains that since 2013 he has been served
        “toxic” meat, namely patties containing soy product. He
        states that as a result of his consumption of these soy
        patties, he contracted H-pylori. Furthermore, he
        complains that his condition worsened in 2015, while he
        was incarcerated at Dade Correctional Institution and the
        Martin Correctional Institution, where he continued
        consuming the “toxic” meat and where the trays, cups and
        spoons were not cleaned properly.

                He alleges that Fuhrman, Philips, McCormick, and


        2
          The application of the Twombly standard was clarified in Ashcroft v.
  Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009).

                                           4
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 5 of 19



        Secretary Jones all knew about the “toxic” meat however
        they continued serving it to prisoners. He further
        alleges that both John Does at the Dade and Martin
        Correctional Institutions served meat knowing it was
        toxic and also failed to require the inmates working in
        food service to properly clean the trays, spoons, and
        cups.

             Plaintiff provides an exhaustive list of ailments
        that the soy meat may cause; however, he does not allege
        that he has suffered any of these conditions. The only
        condition allegedly suffered by the plaintiff is H-
        pylori. The Center for Disease Control and Prevention
        defines H-pylori as a bacteria found in the lining of the
        stomach affecting nearly two-thirds of the worlds
        population and while most never suffer symptoms related
        to the infection, the bacteria may cause gastritis and
        ulcers.3

             As   relief,  Plaintiff  seeks   declaratory  and
        injunctive relief along with compensatory and punitive
        damages.

  (DE# 6:3-4). The Report next outlined applicable law regarding the
  Eighth Amendment prohibition of cruel and unusual punishment as
  well as the law regarding conditions of confinement. (Id.:5-6).
  Applying this law to the facts at hand, the Report went on to
  state:

        Plaintiff is a state prisoner claiming that his Eighth
        Amendment rights have been violated by Defendants
        Fuhrman, Phillips, McCormick, and Secretary Jones, who
        have instituted a meal plan which includes meat patties
        containing soy. He states that soy is hazardous to his
        health and that of other inmates. He further alleges that
        both John Does, food service directors, at the Dade and
        Martin Correctional Institutions serve the soy patties
        knowing the dangers thereof and have failed to properly
        clean eating utensils, cups, and trays.

  (Id.:6).



        3
          The website for the Center for Disease Control and Prevention defining H.
  pylori can be found at http://www.cdc.gov/ulcer/files/hpfacts.pdf.

                                          5
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 6 of 19



        Here, plaintiff is not being deprived of the minimal
        civilized measure of life’s necessities. Rather, the menu
        which he is being served includes soy patties which he
        claims has a long-term health consequence. It is
        well-established   that   inmates    must   be   provided
        nutritionally adequate food, prepared and served under
        conditions which do not present an immediate danger to
        the health and well being of the inmates who consume it.


  (Id.:7)


        In this case, the Plaintiff's Complaint does not include
        any facts suggesting that the Defendants knew that soy
        protein is harmful to Plaintiff's health and that with
        such knowledge Defendants deliberatively ignored the
        known health risks. Plaintiff only concludes that
        Defendants Fuhrman, Phillips, McCormick and both John
        Does should have been aware of the potential harm to
        Plaintiff's health merely because of their positions
        within the FDOC. There are no allegations that the
        Defendants have been placed on notice by any person or
        governmental agency that soy protein is harmful. As to
        Secretary Jones, plaintiff only states that inmates and
        their family members have complained about the soy
        patties. However, he has failed to show that Jones was
        actually aware of an unreasonable risk of serious damage
        to his health or safety through eating soy protein. Nor
        has he pled that Defendants have used the deprivation of
        feeding him soy protein to punish, as required under
        Taylor. Taylor v. Adams, 221 F.3d 154, 1258 (11th Cir.
        2000) (a viable eighth amendment claim includes a
        subjective intent by public officials involved to use the
        sufficiently serious deprivation in order to punish).

        Plaintiff has also failed to provide particularized
        allegations regarding the serious medical issues he
        suffered as a result of the ingestion of soy protein.
        While Plaintiff alleges that he got H. pylori from soy
        consumption, there are no allegations that Plaintiff has
        been examined and it has been determined that he has
        suffered any identifiable medical issue from eating soy
        protein. Simply put, Plaintiff has failed to allege facts
        demonstrating he suffers from a serious medical need or
        that experiencing digestive issues rises to the level of
        a constitutional violation. In sum, Plaintiff has failed
        to allege in his Complaint any facts which could

                                       6
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 7 of 19



        demonstrate that the Defendants subjectively knew that
        soy protein caused serious health risks and with such
        knowledge deliberately served the soy protein with an
        intent to punish.

  (Id.:8-9).


        With respect to the claim that his Eighth Amendment rights
  were violated where John Doe Food Service Directors at DCI and MCI
  failed to require that inmates working in food service properly
  clean trays, cups, and spoons; the report provided as follows:


        Plaintiff’s allegations that both John Doe Defendants
        failed to require that inmates working in food service
        properly clean trays, spoons, and trays, fails to rise to
        an Eighth Amendment violation. There is no indication
        that Defendants knew of and disregarded an excessive risk
        to inmate health or safety. Plaintiff does not allege
        that eating utensils and trays were not cleaned just that
        they were not clean to his satisfaction. Plaintiff has
        failed to establish that failing to properly clean trays
        and utensils is extreme and poses an unreasonable risk of
        serious damage to the prisoner’s future health or safety.


  (Id.:10).


        The   Plaintiff   filed   objections   to   the   report.   (DE#   7).
  Subsequently, the District Court adopted the report in full. (DE#
  8). Plaintiff appealed. (DE# 12).


        The Eleventh Circuit issued an order which first provided the
  law regarding screening under §1915(e) as well as the Eighth
  Amendment. (DE#19:4-6). The court next stated:


        [T]he district court did not err in dismissing the
        instant complaint for failure to state an Eighth
        Amendment claim. As for Oliver’s complaints about the


                                       7
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 8 of 19



        food, Oliver did not allege a condition sufficiently
        severe to establish an Eighth Amendment objection. See
        Chandler, 379 F.3d at 1289. Oliver alleged that the meat
        is “toxic,” contains soy and rodent meat, and has
        long-term medical consequences for the inmates, including
        kidney stones, chronic acne, digestive problems, and
        lowered cognitive functioning. However, he did not say he
        personally has suffered from any of these issues, or even
        that he personally knows prisoners who have suffered from
        these issues. The only medical issue Oliver personally
        alleged he has suffered based on his exposure to the
        soy-laden products is H. pylori--a bacteria in his
        stomach--but he provided no details about the severity of
        his H. pylori symptoms. Thus, Oliver did not adequately
        allege that he was being deprived of constitutional
        rights based on poor nutrition. See Hamm, 774 F.3d at
        1575.

  (Id.:6-7).


        The Eleventh Circuit also stressed:


        Oliver failed to allege facts showing that the prison
        officials acted with deliberate indifference to any
        serious medical need. See Farrow, 320 F.3d at 1245.
        Oliver claimed the defendants knew the meats were toxic
        based on complaints from sickened inmates and their
        families, but he did not allege any facts to suggest that
        any of the inmates presented evidence to the prison
        officials establishing that their illnesses stemmed from
        soy-based protein. Nor did he allege that any
        governmental agency, such as the U.S. Department of
        Agriculture or the U.S. Food and Drug Administration, has
        determined that soy protein is not safe for human
        consumption, much less that any of the prison officials
        were aware of any determination like that.

  (Id.:7). With respect to Plaintiff’s claim regarding dirty dishes,
  the Eleventh Circuit provided:


        Oliver’s complaints about the cleanliness of the dishes
        at the prison do not state an Eighth Amendment claim.
        Oliver has not alleged that the dishes are not cleaned at


                                       8
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 9 of 19



        all; he alleges only that they were not cleaned properly.
        And his prison grievances state that grease remained on
        the dishes after they had been washed. But this
        allegation is not sufficiently serious to show an Eighth
        Amendment violation because spots left on washed dishes
        simply do not show that Oliver has been deprived of a
        minimal civilized level of life’s basic necessities. See
        Chandler, 379 F.3d at 1289.

  (Id.:7-8).


        Upon   holding    that   “the   district     court   did   not   err    in
  dismissing Oliver’s complaint for failure to state an Eighth
  Amendment claim,” the court concluded:


        Nonetheless, the district court did err in dismissing
        Oliver’s complaint without permitting him leave to amend.
        The record indicates that Oliver’s complaint had not yet
        been served on any of the defendants, and none of the
        defendants had filed any responsive pleadings. As a
        result, Oliver was still able to amend his complaint as
        of right, and the district court could not dismiss his
        complaint without permitting him to amend it. See Brown
        , 387 F.3d at 1348-49. Oliver objected to the magistrate
        judge’s report and recommendation (“R&R”), asserting, in
        part, that he should be allowed to amend his complaint to
        fix any deficiency. The district court provided no reason
        about why Oliver could not amend his complaint; rather,
        it summarily adopted the reasoning in the R&R.
        Accordingly, we vacate and remand to the district court
        for proceedings consistent with this opinion.

  (Id.:8) (emphasis added).


        In light of the Eleventh Circuit’s opinion, the Plaintiff has
  filed an amended complaint. (DE# 22). As is noted above, this Cause
  is presently before the Court for initial screening of the amended
  complaint    (DE# 22)    pursuant     to   28   U.S.C. §1915,    because     the
  plaintiff is proceeding in forma pauperis.



                                         9
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 10 of 19



                  IV. Facts In Amended Complaint (DE# 22)


        The   Plaintiff    again     sues        the   following      defendants:   (1)
  Kathleen Fuhrman, Public Health Nutrition Program Manager; (2)
  Shane Phillips, Operation Manager; (3) Craig McCormick, Public
  Health    Nutrition     Program    Manager;          (4)    Julie   Jones,   Florida
  Department of Corrections Secretary; (5) John Doe, Food Service
  Director at Martin Correctional Institution; and (6) John Doe, Food
  Service Director at Dade Correctional Institution.


        After conducing a side by side comparison, it is apparent that
  the Plaintiff copied the allegations contained in his original
  complaint onto his amended complaint. However, he did make some
  alterations and added a few facts.


        In his original complaint, he alleged that Defendants Fuhrman,
  Phillips, and McCormick “knew about this toxic meat.” (DE# 1:4). In
  his   amended   complaint,    he    asserts          that   each    of   these   three
  defendants “knew that the toxic meat will deteriorate my health.”
  (DE# 22:40).


        In both the original and amended complaint, Plaintiff states
  that as a result of his consumption of these soy patties, he
  contracted H-pylori. (DE# 1:4; DE#22:40). In the amended complaint,
  he alleges that he has sharp stomach pains after eating, chronic
  constipation, diarrhea, lowering of cognitive functioning, lack of
  vitamin B12, and lower testosterone levels. (DE# 22:40).


        Plaintiff again seeks declaratory and injunctive relief along
  with $500,000 in compensatory and punitive damages. (DE# 22:55).


                                V.    Discussion


                                            10
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 11 of 19




         A complaint is subject to dismissal for failure to state a
  claim if the allegations, taken as true, show the plaintiff is not
  entitled to relief. Jones v. Bock, 549 U.S. 199, 215, 127 S.Ct.
  910,   290,   166   L.Ed.2d     798    (2007).    "Section   1983   creates   no
  substantive rights; it merely provides a remedy for deprivations of
  federal statutory and constitutional rights." Almand v. DeKalb
  County, Ga., 103 F.3d 1510, 1512 (11th Cir. 1997)(citation omitted).
  Further, §1983 is not meant to replace state tort law, it is only
  meant to provide a remedy for violations of federally protected
  rights. Id. at 1513 (citing Baker v. McCollan, 443 U.S. 137, 145-
  146, 99 S.Ct. 2689, 2695, 61 L.Ed.2d 433 (1979)). A successful
  §1983 imposes liability on anyone who, under color of state law,
  deprives a person "of any rights, privileges, or immunities secured
  by the Constitution and laws." See Arrington v. Cobb County, 139
  F.3d 865, 872 (11th Cir. 1998); U.S. Steel, LLC v. Tieco, Inc., 261
  F.3d 1275, 1288 (11th Cir. 2001).


         Plaintiff    is   a   state     prisoner   claiming   that   his   Eighth
  Amendment     rights     have   been    violated    by   Defendants   Fuhrman,
  Phillips, McCormick, and Secretary Jones, who have instituted a
  meal plan which includes meat patties containing soy. He states
  that soy is hazardous to his health and that of other inmates. He
  further alleges that both John Does, food service directors, at the
  Dade and Martin Correctional Institutions serve the soy patties
  knowing the dangers thereof and have failed to properly clean
  eating utensils, cups, and trays.


         The Eighth Amendment governs the treatment a prisoner receives
  in prison and the conditions under which he is confined. Helling v.
  McKinney, 509 U.S. 25, 31, 113 S.Ct. 2475, 125 L.Ed.2d 22 (1993).
  However, not every governmental action affecting the well-being of


                                           11
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 12 of 19



  a prisoner is subject to Eighth Amendment scrutiny. Whitley v.
  Albers, 475 U.S. 312, 319, 106 S.Ct. 1078, 89 L.Ed.2d 251 (1986).
  After incarceration, only the unnecessary and wanton infliction of
  pain constitutes cruel and unusual punishment forbidden by the
  Eighth Amendment. Ingraham v. Wright, 430 U.S. 651, 670, 97 S.Ct.
  1401, 51 L.Ed.2d 711 (1977) (quoting Estelle v. Gamble, 429 U.S.
  97, 104, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976)). Claims challenging
  conditions    of   confinement    under    the   Eighth   Amendment    must
  demonstrate an infliction of pain “without any penological purpose”
  or an “unquestioned and serious deprivation of basic human needs”
  such as medical care, exercise, food, warmth, clothing, shelter, or
  safety. Rhodes v. Chapman, 452 U.S. 337, 347, 101 S.Ct. 2392, 69
  L.Ed.2d 59 (1981); see also Hamm v. DeKalb County, 774 F.2d 1567,
  1571-72 (11th Cir.1985).


        A two-part analysis governs Eighth Amendment challenges to
  conditions of confinement. Chandler v. Crosby, 379 F.3d 1278, 1289
  (11th Cir.2004). First, under the objective component, a prisoner
  must prove that the condition he complains of is sufficiently
  serious to violate the Eighth Amendment. Hudson v. McMillian, 503
  U.S. 1, 8, 112 S.Ct. 995, 117 L.Ed.2d 156 (1992). The second part
  of the analysis requires prisoners to show that prison officials
  acted with a sufficiently culpable state of mind regarding the
  condition at issue. Id. at 8. In evaluating such claims, “[t]he
  proper standard is that of deliberate indifference.”•Chandler, 379
  F.3d at 1289.


        Here, plaintiff is not being deprived of the minimal civilized
  measure of life’s necessities. Rather, the menu which he is being
  served includes soy patties which he claims has a long-term health
  consequence. It is well-established that inmates must be provided
  nutritionally adequate food, prepared and served under conditions


                                       12
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 13 of 19



  which do not present an immediate danger to the health and well
  being of the inmates who consume it. Shrader v. White, 761 F.2d 975
  (4th Cir.1985) (quoting Ramos v. Lamm, 639 F.2d 559, 571 (10th
  Cir.1980)). The food in prison, however, need not be tasty or
  aesthetically pleasing but merely adequate to maintain health. Hamm
  v. DeKalb County, 774 F.2d at 1575 (prisoners must be provided
  reasonably adequate food.).


        In his original complaint, he alleged that the defendants
  “knew about this toxic meat.” (DE# 1:4). In his amended complaint,
  he simply adds, without factual support, that the defendants “knew
  that toxic meat will deteriorate my health.” (DE# 22:40). In so
  doing, he did not cure the problems in the original complaint. The
  Plaintiff's Amended Complaint does not include any facts suggesting
  that the Defendants knew that soy protein is harmful to Plaintiff's
  health and that with such knowledge Defendants deliberatively
  ignored the known health risks.            As he did in the original
  complaint,    Plaintiff   again   concludes     that   Defendants   Fuhrman,
  Phillips, McCormick and both John Does should have been aware of
  the potential harm to Plaintiff's health merely because of their
  positions within the FDOC. There are no allegations that the
  Defendants have been placed on notice by any person or governmental
  agency   that   soy   protein   is   harmful.   As     to   Secretary   Jones,
  plaintiff only states that inmates and their family members have
  complained about the soy patties. However, he has failed to show
  that Jones was actually aware of an unreasonable risk of serious
  damage to his health or safety through eating soy protein. Nor has
  he pled that Defendants have used the deprivation of feeding him
  soy protein to punish, as required under Taylor. Taylor v. Adams,
  221 F.3d 154, 1258 (11th Cir. 2000) (a viable eighth amendment claim
  includes a subjective intent by public officials involved to use
  the sufficiently serious deprivation in order to punish).


                                       13
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 14 of 19



        Unlike in the original complaint, the Plaintiff did identify
  some specific symptoms he has experienced as a result of the “toxic
  meat.” Specifically, stomach pains, constipation, diarrhea, mental
  fogginess, lack of vitamin B12, and lower testosterone levels.
  However,    the   amended     complaint    also    lacked    allegations     that
  Plaintiff has been examined and it has been determined that he has
  suffered any identifiable medical issue from eating soy protein. It
  is unclear how he would know that he has low vitamin B12 and/or
  testosterone levels. Plaintiff has again failed to allege facts
  demonstrating he suffers from a serious medical need or that
  experiencing      digestive     issues     rises    to      the    level    of   a
  constitutional violation.


        In   sum,   Plaintiff    has   failed   to    allege    in    his    Amended
  Complaint any facts which could demonstrate that the Defendants
  subjectively knew that soy protein caused serious health risks and
  with such knowledge deliberately served the soy protein with an
  intent to punish.


        Moreover, Plaintiff also claims that his Eighth Amendment
  rights were violated where the John Doe Food Service Directors at
  Dade and Martin Correctional Institutions failed to require that
  inmates, working in food service, properly clean trays, cups, and
  spoons. In his amended complaint, Plaintiff does not provide any
  additional facts in connection with these allegations.


        If nutritionally adequate food is prepared and served in a
  manner that does not present an immediate danger to the health and
  well being of the inmates who consume it, then there is no
  constitutional violation. Ramos v. Lamm, 639 F.2d 559, 571 (10th
  Cir.1980); French v. Owens, 777 F.2d 1250, 1255 (7th Cir.1985);
  Adams v. Mathis, 458 F.Supp. 302 (M.D.Ala.1978), affd, 614 F.2d 42


                                        14
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 15 of 19



  (5 Cir.1980). Dried food left on delivery carts and the sporadic
  discovery    of   foreign    objects        in    food    does    not   establish   a
  constitutional violation absent a showing that an immediate danger
  existed. Landfair v. Sheahan, 878 F.Supp. 1106 (N.D.Ill.1994).
  Generally, the Constitution requires that food be prepared and
  served in a manner that reasonably accords with sound sanitary
  procedures so that inmates are not exposed to an unreasonable risk
  of   disease.     Grubbs     v.     Bradley,        552      F.Supp.    1052,     1123
  (M.D.Tenn.1982).     However,       even        unsanitary    conditions    may    not
  constitute constitutional deprivations if a good faith effort has
  been made to maintain a clean area. Kennibrew v. Russell, 578
  F.Supp. 164 (E.D.Tenn.1983).


        Plaintiff    has     failed    to     establish        an   Eighth   Amendment
  violation. As noted previously, in order to violate the Eighth
  Amendment, the risk of harm from the condition must be “so grave
  that it violates contemporary standards of decency to expose anyone
  unwillingly to such a risk.” Chandler v. Crosby, 379 F.3d 1278,
  1289 (11th Cir.2004). Furthermore, the prisoner must also show that
  the prison officials acted with deliberate indifference. Id. This
  involves something more than mere negligence and requires the
  prison official to know of and disregard an excessive risk to
  inmate health and safety. Farmer v. Brennan, 511 U.S. 825, 832, 114
  S.Ct. 1970, 1976, 128 L.Ed.2d 811 (1994). Generalized allegations
  about sharing “dirty” cells and using “filthy” showers, do not
  begin to approach the “extreme deprivations” needed to support a
  successful conditions of confinement claim. See Evans v. St. Lucie
  County Jail, 448 F. App’x 971, 974-75 (11th Cir. 2011) (unpublished
  decision).


        The Plaintiff’s allegations regarding the dirty trays in the
  original complaint are the same as the allegations in the amended


                                             15
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 16 of 19



  complaint. These allegations that both John Doe Defendants failed
  to require that inmates working in food service properly clean
  trays, spoons and trays, fails to rise to an Eighth Amendment
  violation. There is no indication that Defendants knew of and
  disregarded an excessive risk to inmate health or safety. Plaintiff
  does not allege that eating utensils and trays were not cleaned
  just that they were not clean to his satisfaction. Plaintiff has
  failed to establish that failing to properly clean trays and
  utensils is extreme and poses an unreasonable risk of serious
  damage to the prisoner’s future health or safety.


                            A. Injunctive Relief


        Plaintiff again seeks preliminary and permanent injunctive
  relief. “The decision to grant or deny a preliminary injunction “is
  within the sound discretion of the district court....” Palmer v.
  Braun, 287 F.3d 1325, 1329 (11th Cir. 2002) (citations omitted).
  This court may grant a preliminary injunction only if Plaintiff
  demonstrates each of the following prerequisites: (1) a substantial
  likelihood of success on the merits; (2) a substantial threat
  irreparable injury will occur absent issuance of the injunction;
  (3) the threatened injury outweighs the potential damage the
  requested injunction may cause the non-moving parties; and (4) the
  injunction would not be adverse to the public interest. Palmer, 287
  F.3d at 1329; McDonald's Corp. v. Robertson, 147 F.3d 1301, 1306
  (11th Cir. 1998); Cate v. Oldham, 707 F.2d 1176 (11th Cir. 1983);
  Shatel Corp. v. Mao Ta Lumber and Yacht Corp., 697 F.2d 1352 (11th
  Cir. 1983); see also Parker v. State Board of Pardons and Paroles,
  275 F.3d 1032, 1034–35 (11th Cir. 2001). No such showing has been
  made here.


        “In    this   Circuit,   ‘[a]    preliminary    injunction    is   an


                                        16
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 17 of 19



  extraordinary and drastic remedy not to be granted unless the
  movant clearly established the “burden of persuasion’” as to the
  four requisites.” McDonald's, 147 F.3d at 1306; All Care Nursing
  Service, Inc. v. Bethesda Memorial Hospital, Inc., 887 F.2d 1535,
  1537 (11th Cir. 1989)(a preliminary injunction is issued only when
  “drastic relief” is necessary); Texas v. Seatrain Int'l, S.A., 518
  F.2d 175, 179 (5th Cir. 1975)(grant of preliminary injunction “is
  the exception rather than the rule,” and movant must clearly carry
  the   burden    of     persuasion).     The        moving   party's   failure    to
  demonstrate a “substantial likelihood of success on the merits” may
  defeat the party's claim, regardless of the party's ability to
  establish any of the other elements. Church v. City of Huntsville,
  30 F.3d 1332, 1342 (11th Cir. 1994); see also Siegel v. Lepore, 234
  F.3d 1163, 1176 (11th Cir. 2000)(noting that “the absence of a
  substantial likelihood of irreparable injury would, standing alone,
  make preliminary injunctive relief improper”).


        “‘The    chief    function   of    a     preliminary    injunction    is    to
  preserve the status quo until the merits of the controversy can be
  fully and fairly adjudicated.’ Northeastern Fl. Chapter of Ass'n of
  Gen. Contractors of Am. v. City of Jacksonville, Fl., 896 F.2d
  1283, 1284 (11th Cir. 1990).” Suntrust Bank v. Houghton Mifflin Co.,
  268 F.3d 1257, 1265 (11th Cir. 2001). The “extraordinary remedy”
  provided by an injunction is only available when a “legal right has
  been infringed by an injury for which there is no adequate legal
  remedy   and    which    will   result        in   irreparable   injury    if    the
  injunction does not issue.” Alabama v. United States Army Corps of
  Eng'rs, 424 F.3d 1117, 1127 (11th Cir. 2005).


        In his amended complaint, plaintiff requests injunctive relief
  against all defendants. The standard for a permanent injunction is
  essentially the same as for a preliminary injunction except that


                                           17
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 18 of 19



  plaintiff must also show actual success on the merits instead of a
  likelihood of success.” Klay v. United Healthgroup, Inc., 376 F.3d
  1092, 1097 (11th Cir. 2004) (quoting Siegel, 234 F.3d at 1213). In
  addition to succeeding on the merits, a plaintiff must “demonstrate
  the presence of two elements: continuing irreparable injury if the
  injunction does not issue, and the lack of an adequate remedy at
  law.” Siegel, 234 F.3d at 1213 (quoting Newman v. State of Ala.,
  683 F.2d 1312, 1319 (11th Cir. 1982)).


         Plaintiff has not set forth a sufficient showing to warrant
  the entry of preliminary or permanent injunctive relief.


                                VI.   Conclusion


         Based on the foregoing, it is recommended that the Amended
  Complaint (DE#22) be dismissed pursuant to §1915(e) for failure to
  state a claim upon which relief may be granted; and the case be
  closed.


         Objections to this report may be filed with the District Judge
  within fourteen days of receipt of a copy of the report. Failure to
  file   timely    objections   shall    bar     Plaintiff   from    a    de   novo
  determination by the district judge of an issue covered in this
  report and shall bar the parties from attacking on appeal factual
  findings accepted or adopted by the district judge except upon
  grounds of      plain   error or    manifest    injustice.   See       28   U.S.C.
  §636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v.
  Johnson, 885 F.2d 790,794 (1989); LoConte v. Dugger, 847 F.2d 745
  (11th Cir. 1988); RTC v. Hallmark Builders, Inc., 996 F.2d 1144,
  1149 (11th Cir. 1993).


         Signed this 5th day of October, 2017.


                                        18
Case 1:16-cv-22053-UU Document 25 Entered on FLSD Docket 10/05/2017 Page 19 of 19




                                            UNITED STATES MAGISTRATE JUDGE

  cc:   Warren Oliver
        781409
        Tomoka Correctional Institution
        Inmate Mail/Parcels
        3950 Tiger Bay Road
        Daytona Beach, FL 32124
        PRO SE




                                       19
